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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
                                              :
      v.                                      :   Case No.: 21-CR-555-RCL
                                              :
                                              :
PAMELA ANNE HEMPHILL,                         :
                                              :
                 Defendant.                   :


                  NOTICE OF FILING DISCOVERY MEMORANDA

       The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, hereby files three memoranda related to the status of the

government’s ongoing discovery efforts in Capitol-riot cases. The memoranda document the

status as of July 12, 2021, August 23, 2021, and September 14, 2021, and discuss the progress

of these efforts. All three memoranda, plus an exhibit to the July memorandum, are attached to

this notice and filed via the Court’s electronic case files system (ECF) on counsel for the

defendants.

                                                   Respectfully submitted,

                                                   CHANNING D. PHILLIPS
                                                   Acting United States Attorney
                                                   D.C. Bar No. 415793

                                           By:            /s/ Katherine Nielsen
                                                   KATHERINE NIELSEN
                                                   Trial Attorney, Detailee
                                                   D.C. Bar No. 491879
                                                   555 4th Street, N.W.
                                                   Washington, D.C. 20530
                                                   Katherine.Nielsen@usdoj.gov
                                                   (202) 355-5736
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 24, 2021, I served a copy of this pleading on

the parties to this matter as indicated in ECF.



                                                      /s/ Katherine Nielsen
                                                      KATHERINE NIELSEN
                                                      Trial Attorney, Detailee




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